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                                                         United States District Court                               JS-3
                                                         Central District of California


 UNITED STATES OF AMERICA vs.                                                Docket No.             CR 22-00411-FMO

 Defendant           ANDY AGUILAR                                            Social Security No. 3         2   9     5
 akas:   Tiny PK; Little Goon; good2dageneral                                (Last 4 digits)




                                                                                                                    MONTH      DAY     YEAR
              In the presence of the attorney for the government, the defendant appeared in person on this date.         06      06     2024

 COUNSEL                                                                   Erin Darling, CJA
                                                                             (Name of Counsel)

    PLEA             X GUILTY, and the court being satisfied that there is a factual basis for the plea.          NOLO                   NOT
                                                                                                               CONTENDERE               GUILTY
  FINDING            There being a finding/verdict of GUILTY, defendant has been convicted as charged of the offense(s) of:

                     Count 2: Distribution of at Least Five Grams of Methamphetamine; 21 U.S.C. § 841 (a)(1); 841(b)(1)(B)(viii)
                     Count 3: Engaging in the Business of Dealing in Firearms Without a License; 18 U.S.C. § 922(a)(1)(A)

JUDGMENT             The Court asked whether there was any reason why judgment should not be pronounced. Because no sufficient cause to the
AND PROB/            contrary was shown, or appeared to the Court, the Court adjudged the defendant guilty as charged and convicted and ordered that:
  COMM               Pursuant to the Sentencing Reform Act of 1984, it is the judgment of the Court that the defendant is hereby committed to the
  ORDER              custody of the Bureau of Prisons to be imprisoned for a term of: sixty-seven (67) months.

       It is the Judgment of the court that defendant is committed to the custody of the Bureau of Prisons on
Counts Two (2) and Three (3) of the Indictment for a term of sixty-seven (67) months. This sentence consists
of sixty-seven (67) months on Count Two (2) and sixty (60) months on Count Three (3), to be served
concurrently.

      Upon release from imprisonment, defendant shall be placed on supervised release for a term of four (4)
years, all such terms to run concurrently under the following terms and conditions:

         1.          Defendant shall comply with the rules and regulations of the United States Probation & Pretrial
                     Services Office and Second Amended General Order 20-04.

         2.          During the period of community supervision, defendant shall pay the special assessment in
                     accordance with this judgment's orders pertaining to such payment.

         3.          Defendant shall cooperate in the collection of a DNA sample.

         4.          Defendant shall refrain from any unlawful use of a controlled substance. Defendant shall submit
                     to one drug test within 15 days of release from custody and at least two periodic drug tests
                     thereafter, not to exceed eight tests per month, as directed by the Probation Officer.

         5.          Defendant shall participate in an outpatient substance abuse treatment and counseling program
                     that includes urinalysis, breath or sweat patch testing, as directed by the Probation Officer.
                     Defendant shall abstain from using alcohol and illicit drugs, and from abusing prescription
                     medications during the period of supervision.

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         6.          Defendant is prohibited from using and/or accessing Instagram social media platform. All other
                     social media platforms accessed and/or used require prior approval by the Probation Officer.

         7.          Defendant shall submit his person, property, house, residence, vehicle, papers, or other areas
                     under defendant's control, to a search conducted by a United States Probation Officer or law
                     enforcement officer. Failure to submit to a search may be grounds for revocation. Defendant
                     shall warn any other occupants that the premises may be subject to searches pursuant to this
                     condition. Any search pursuant to this condition will be conducted at a reasonable time and in a
                     reasonable manner upon reasonable suspicion that defendant has violated a condition of his
                     supervision and that the areas to be searched contain ev idence of this violation.

         8.          Defendant shall possess and use only those digital devices, screen usernames, email accounts,
                     social media accounts, messaging applications, and cloud storage accounts, as well as any
                     passwords or passcodes for all such digital devices and accounts, which have been disclosed to
                     the Probation Officer upon commencement of supervision. Any new devices, accounts,
                     applications, passwords, or passcodes are to be disclosed to the Probation Officer prior to the first
                     use. A digital device is any electronic system or device that can access, view, obtain, store, or
                     transmit digital data related to social media accounts.

         9.          All computers, computer-related devices, and their peripheral equipment, used by defendant shall
                     be subject to search, seizure and computer monitoring. This shall not apply to items used at the
                     employment site that are maintained and monitored by the employer.

         10.         Defendant shall comply with the rules and regulations of the Computer Monitoring Program.
                     Defendant shall pay the costs of the Computer Monitoring Program.

         11.         Defendant shall not associate with anyone known to defendant to be a member of the Inglewood
                     13 Gang and others known to defendant to be participants in the Inglewood 13 Gang's criminal
                     activities, with the exception of the defendant's family members. Defendant may not wear,
                     display, use or possess any gang insignias, emblems, badges, buttons, caps, hats, jackets,
                     shoes, or any other clothing that defendant knows evidence affiliation with the Inglewood 13
                     Gang, and may not display any signs or gestures that defendant knows evidence affiliation with
                     the Inglewood 13 Gang.

         12.         As directed by the Probation Officer, defendant shall not be present in any area known to
                     defendant to be a location where members of the Inglewood 13 Gang meet or assemble.

       Defendant shall pay to the United States a special assessment of $200, which is due immediately. Any
unpaid balance shall be due during the period of imprisonment, at the rate of not less than $25 per quarter, and
pursuant to the Bureau of Prisons' Inmate Financial Responsibility Program. All fines are waived as the court
finds defendant is unable to pay and is not likely to become able to pay any fine.

       The court recommends that: (1) defendant be designated to the Bureau of Prisons facility at Terminal
Island; and (2) that he be allowed to participate in the Bureau of Prisons Residential Drug Abuse Program.

         Upon motion by the government, any remaining counts of the Indictment are hereby dismissed.




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             The defendant must also comply with the following special conditions (set forth below).

             STATUTORY PROVISIONS PERTAINING TO PAYMENT AND COLLECTION OF FINANCIAL SANCTIONS

           The defendant must pay interest on a fine or restitution of more than $2,500, unless the court waives interest or unless the fine or
 restitution is paid in full before the fifteenth (15th) day after the date of the judgment under 18 U.S.C. § 3612(f)(1). Payments may be subject
 to penalties for default and delinquency under 18 U.S.C. § 3612(g). Interest and penalties pertaining to restitution, however, are not
 applicable for offenses completed before April 24, 1996. Assessments, restitution, fines, penalties, and costs must be paid by certified check
 or money order made payable to “Clerk, U.S. District Court.” Each certified check or money order must include the case name and number.
 Payments must be delivered to:

           United States District Court, Central District of California
           Attn: Fiscal Department
           255 East Temple Street, Room 1178
           Los Angeles, CA 90012

 or such other address as the Court may in future direct.

          If all or any portion of a fine or restitution ordered remains unpaid after the termination of supervision, the defendant must pay the
 balance as directed by the United States Attorney’s Office. 18 U.S.C. § 3613.

          The defendant must notify the United States Attorney within thirty (30) days of any change in the defendant’s mailing address or
 residence address until all fines, restitution, costs, and special assessments are paid in full. 18 U.S.C. § 3612(b)(l)(F).

          The defendant must notify the Court (through the Probation Office) and the United States Attorney of any material change in the
 defendant’s economic circumstances that might affect the defendant’s ability to pay a fine or restitution, as required by 18 U.S.C. § 3664(k).
 The Court may also accept such notification from the government or the victim, and may, on its own motion or that of a party or the victim,
 adjust the manner of payment of a fine or restitution under 18 U.S.C. § 3664(k). See also 18 U.S.C. § 3572(d)(3) and for probation 18
 U.S.C. § 3563(a)(7).

           Payments will be applied in the following order:

                     1. Special assessments under 18 U.S.C. § 3013;
                     2. Restitution, in this sequence (under 18 U.S.C. § 3664(i), all non-federal victims must be paid before the United
                       States is p aid):
                               Non-federal victims (individual and corporate),
                               Providers of compensation to non-federal victims,
                               The United States as victim;
                     3. Fine;
                     4. Community restitution, under 18 U.S.C. § 3663(c); and
                     5. Other penalties and costs.

            CONDITIONS OF PROBATION AND SUPERVISED RELEASE PERTAINING TO FINANCIAL SANCTIONS

          As directed by the Probation Officer, the defendant must provide to the Probation Officer: (1) a signed release authorizing credit
 report inquiries; (2) federal and state income tax returns or a signed release authorizing their disclosure and (3) an accurate financial
 statement, with supporting documentation as to all assets, income and expenses of the defendant. In addition, the defendant must not apply
 for any loan or open any line of credit without prior approval of the Probation Officer.

           When supervision begins, and at any time thereafter upon request of the Probation Officer, the defendant must produce to the
 Probation and Pretrial Services Office records of all bank or investments accounts to which the defendant has access, including any business
 or trust accounts. Thereafter, for the term of supervision, the defendant must notify and receive approval of the Probation Office in advance
 of opening a new account or modifying or closing an existing one, including adding or deleting signatories; changing the account number or
 name, address, or other identifying information affiliated with the account; or any other modification. If the Probation Office approves the
 new account, modification or closing, the defendant must give the Probation Officer all related account records within 10 days of opening,
 modifying or closing the account. The defendant must not direct or ask anyone else to open or maintain any account on the defendant’s
 behalf.

         The defendant must not transfer, sell, give away, or otherwise convey any asset with a fair market value in excess of $500 without
 approval of the Probation Officer until all financial obligations imposed by the Court have been satisfied in full.

                                These conditions are in addition to any other conditions imposed by this judgment.


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                                                                     RETURN

 I have executed the within Judgment and Commitment as follows:
 Defendant delivered on                                                                      to
 Defendant noted on appeal on
 Defendant released on
 Mandate issued on
 Defendant’s appeal determined on
 Defendant delivered on                                                                    to
     at
     the institution designated by the Bureau of Prisons, with a certified copy of the within Judgment and Commitment.

                                                                     United States Marshal


                                                               By
            Date                                                     Deputy Marshal



                                                                  CERTIFICATE

 I hereby attest and certify this date that the foregoing document is a full, true and correct copy of the original on file in my office, and in my
 legal custody.

                                                                     Clerk, U.S. District Court


                                                               By
            Filed Date                                               Deputy Clerk




                                                 FOR U.S. PROBATION OFFICE USE ONLY


Upon a finding of violation of probation or supervised release, I understand that the court may (1) revoke supervision, (2) extend the term of
supervision, and/or (3) modify the conditions of supervision.

         These conditions have been read to me. I fully understand the conditions and have been provided a copy of them.


         (Signed)
                     Defendant                                                      Date



                     U. S. Probation Officer/Designated Witness                     Date




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